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 7

 8
                                IN THE UNITED STATES DISTRICT COURT
 9
                                   EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                            CASE NO. 2:17-CR-0064 JAM
12                               Plaintiff,               STIPULATION AND ORDER REGARDING
                                                          BRIEFING SCHEDULE ON DEFENDANT’S
13                         v.                             MOTION TO SUPPRESS
14   GARY ROBERTS,
15                               Defendant.
16

17                                                  STIPULATION
18          1. Defendant Gary Roberts filed a motion to suppress on March 5, 2019. Docket No. 156. By

19 previous stipulation, a hearing date of May 21, 2019, was set. Since that agreement, the assigned

20 prosecutor, Assistant U.S. Attorney Amanda Beck, left for maternity leave.

21          2.     The court has not ordered a hearing.

22          3.     By this stipulation, the parties now move that:

23                 a)     The government’s motion response will be due on May 28, 2019;

24                 b)     The defense reply, if any, will be due on June 11, 2019; and

25                 c)     A suppression hearing, if any, will be on June 25, 2019 at 9:15 a.m.

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      STIPULATION REGARDING BRIEFING                      1
      SCHEDULE ON DEFENDANT’S MOTION
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 1          4.     This briefing and hearing schedule will allow the parties to conduct necessary legal and

 2 factual research. In particular, the newly-assigned prosecutor, Assistant U.S. Attorney Jason Hitt, needs

 3 additional time to review the motion, become familiar with the case and the discovery in the case, and

 4 the parties have agreed to this extension so that the government may conduct the necessary research and

 5 drafting.

 6          5.     The additional time will also allow the defense, in turn, to respond to the government’s

 7 argument.

 8          6.     Defendant Gary Roberts is out of custody. Docket No. 67.

 9          7.     The parties’ next status conference is scheduled for June 25, 2019. Docket No. 167.

10          IT IS SO STIPULATED.

11
                                                            McGREGOR W. SCOTT
12                                                          United States Attorney
13   Dated: May 16, 2019
                                                            /s/ Jason Hitt
14                                                          JASON HITT
                                                            Assistant United States Attorney
15

16
     Dated: May 16, 2019                                    /s/ Etan Zaitsu, Esq.
17                                                          ETAN ZAITSU, Esq.
                                                            Counsel for Defendant Roberts, authorized to
18                                                          sign for Mr. Zaitsu on May 16, 2019
19

20                                         FINDINGS AND ORDER
21          Based upon the stipulation and representations of the parties, the Court adopts the proposed
22 revised briefing schedule on the defendant’s motion to suppress and vacates the hearing date previously

23 set on this motion.

24         IT IS SO ORDERED.

25 DATED: 5/16/2019
                                                         /s/ John A. Mendez_____________________
26                                                       U. S. District Court Judge

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      STIPULATION REGARDING BRIEFING                    2
      SCHEDULE ON DEFENDANT’S MOTION
